Case 2:05-cv-02371-.]DB-dkv Document 14 Filed 06/30/05 Page 1 of 3 Pagej_D 9

IN THE UNrrED s'rATES DISTRICT CoURT H'E° BY D-C‘-
FoR THE WESTERN DIVISION oF THE 05 JUN
WESTERN DISTRICT oF TENNESSEE 35 H 3= 57
U~K}MASM M_Gou_p
CoNsoLrDATED CoNTAINER GBWH,DLOF U'S W?§W
COMPANY LP, ’ ‘ ”
PLAINTIFF, CIVIL ACTloN
FILE NO 0_5__~?5_/\ l 30
VS.

WARREN UNILUBE, INC.,

DEFENDANT.

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!H| ORDER OF SPECIAL ADMISSION

Before the court are the June?_@<{,`\ZOOS motions and combined memorandums for
admission pro hac vice Of Steven M. Collins and Christina Hull Eikhoff. Mr. Collins is a
member in good standing of the bar of the state of Georgia, and is admitted to practice before the
U.S. District Court for the Northern District of Georgia. Ms. Eikhoff is a member in good
standing of the bar of the state of Georgia and is admitted to practice before the U.S. District
Court for the Northern District of Georgia. Mr. Collins and Ms. Eikhoff have obtained and are
familiar With the local rules and professional guidelines of this court. For good cause shown, the
motions are granted and Steven M. Collins and Christina Hull Eikhoff are admitted to participate

in this action as counsel for plaintiff Consolidated ntainer Company LP.

 

11 is so oRDERED this 30 day 0 2005.
liljn STATES DISTRI<`xr JUDGE

ATLOl/l l964859v1

Tials document entered on the docket sheet in compliance

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with Rule 58 and/or 79(a) FHCP on " q

 

ESTRN D

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Honorable .l. Breen
US DISTRICT COURT

